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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                        Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Nuvo Group USA, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  300         WItherspoon                                  _______________________________________________
                                              ______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 201                                                _______________________________________________
                                              ______________________________________________
                                                                                                           P.O. Box
                                                  Princeton                    NJ         08542
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         Nuvo Group USA, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .



 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          Nuvo Group USA, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
                                                        See Schedule 1
                                          Yes. Debtor _____________________________________________ Relationship _________________________
      business partner or an
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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             Nuvo Group USA Inc.
Debtor      _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            08   22/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8 Rice Powell
                                             _____________________________________________
                                                                                                          Rice Powell
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Executive Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor       Nuvo Group USA Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 Derek C. Abbott
                                          _____________________________________________            Date        08   22/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Derek C. Abbott
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Morris, Nichols, Arsht & Tunnell LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201        North Market Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19899-1347
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 658-9200
                                         ____________________________________                             dabbott@morrisnichols.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          3376
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                                 Schedule 1

               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter
11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of the
United States Code in the United States Bankruptcy Court for the District of Delaware) (the “Court”). A
motion will be filed with the Court requesting that the chapter 11 cases of each entity listed below be
consolidated for procedural purposes only and jointly administered, pursuant to Rule 1015(b) of the
Federal Rules of Bankruptcy Procedure, under the case number assigned to the chapter 11 case of Nuvo
Group USA, Inc.

                                               Company
                                       Holdco Nuvo Group D.G Ltd.
                                            Nuvo Group Ltd.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    NUVO GROUP USA INC. et al.,1                                 Case No. 24-______ (____)

                                  Debtors.                       (Joint Administration Requested)


                              CORPORATE OWNERSHIP STATEMENT

             Pursant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

above-captioned debtors and debtors in possession, to the best of their knowledge, information,

and belief, hereby state that Nuvo Group USA Inc. is one hundred percent (100%) owned by Nuvo

Group Ltd., whose address is Yigal Alon 94, Tower 1, Tel Aviv 6789155 Israel.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each of their respective federal tax
      identification numbers, are: Nuvo Group USA, Inc. (2727), Holdco Nuvo D.G Ltd. (5756), and Nuvo Group Ltd.
      (3811). Their addresses are, respectively, 300 Witherspoon, Suite 201, Princeton, NJ 08542 and Yigal Alon 94,
      Tower 1, Tel Aviv 6789155 Israel.
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                                    UNANIMOUS WRITTEN CONSENT OF THE
                                 BOARD OF DIRECTORS OF NUVO GROUP USA, INC.

                    The undersigned, being all the members of the board of directors (the “Board”) of Nuvo
             Group USA, Inc., a corporation organized and existing under the laws of the State of Delaware
             (the “Company”), consent to and adopt the following resolutions:

                    WHEREAS, the Board has reviewed and considered, among other things, the financial
             and operational condition of the Company’s business on the date hereof, including the historical
             performance of the Company, the assets of the Company, the current and long-term liabilities of
             the Company, the strategic alternatives available to it and the impact of the foregoing on the
             Company’s business;

                    WHEREAS, the Board has had the opportunity to consult with senior management of the
             Company and the legal, financial, and other advisors and consider each of the strategic alternatives
             available to the Company; and

                      WHEREAS, the Board has received, reviewed, and considered the recommendations of
             the senior management of the Company and the Company’s legal, financial, and other advisors as
             to the relative risks and benefits of pursuing a bankruptcy proceeding (the “Chapter 11 Case”), and
             has determined that, in its judgment, it is advisable and in the best interests of the Company, its
             creditors, equity holders, employees and other interested parties that the Company voluntarily files
             a petition (the “Petition”) for relief under chapter 11 of title 11 of the United States Code (the
             “Bankruptcy Code”);

                     NOW, THEREFORE, BE IT RESOLVED, that the filing by the Company of the
             Petition in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
             Court”) be, and hereby is, authorized, approved, confirmed and adopted in all respects; and it is

                 1. Commencement of Chapter 11 Case

                     FURTHER RESOLVED, that any officer of the Company (each, an “Authorized
             Person”), in each case, acting individually or jointly, be, and each hereby is, authorized,
             empowered, and directed, with full power of delegation, to negotiate, execute, verify, deliver, and
             file with the Bankruptcy Court, in the name and on behalf of the Company, and under its corporate
             seal or otherwise, the Petition and all schedules, statements, motions, lists, applications, pleadings,
             papers, affidavits, declarations, orders, plans, and other documents (collectively, the “Chapter 11
             Filings”) (with such changes therein and additions thereto as any such Authorized Person may
             deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11
             Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
             any such Authorized Person deemed such changes to meet such standard); and it is

                      FURTHER RESOLVED, that any Authorized Person, in the case, acting individually or
             jointly, be, and each hereby is, authorized, empowered, and directed, with full power of delegation,
             in the name and on behalf of the Company, to take and perform any and all further acts and deeds
             that such Authorized Person deems necessary, appropriate, or desirable in connection with the
             Chapter 11 Case or the Chapter 11 Filings, including, without limitation, (i) the payment of fees,
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                                              
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             expenses and taxes such Authorized Person deems necessary, appropriate, or desirable, and (ii)
             negotiating, executing, delivering, performing and filing any and all additional documents,
             schedules, statements, lists, papers, agreements, certificates and/or instruments (or any
             amendments or modifications thereto) in connection with, or in furtherance of, the Company’s
             Chapter 11 Case with a view to the successful prosecution of the Chapter 11 Case (such acts to be
             conclusive evidence that such Authorized Person deemed the same to meet such standard); and it
             is

                 2. Retention of Advisors

                     FURTHER RESOLVED, that any Authorized Person, and each of them, acting either
             individually or jointly, is hereby authorized, empowered, and directed, in the name and on behalf
             of the Company, to retain (i) Hughes Hubbard & Reed LLP as general bankruptcy counsel, (ii)
             Morris, Nichols, Arsht & Tunnell LLP as Delaware bankruptcy counsel, (iii) Teneo Capital LLC
             as financial advisor, and (iv) Epiq Corporate Restructuring, LLC as claims and noticing agent, on
             such terms as any Authorized Person shall deem necessary, appropriate or desirable and subject to
             any required approvals of the Bankruptcy Court; and it is

                     FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized and
             directed to employ any other professionals that are reasonably necessary to assist the Company in
             carrying out their duties under the Bankruptcy Code and to advance the Company’s rights and
             obligations; and in connection therewith, the Authorized Person is hereby authorized and directed,
             in the name of and on behalf of the Company, to execute appropriate retention agreements, pay
             appropriate retainers and to cause to be filed appropriate applications, to the extent necessary, for
             authority to retain the services of any such additional professionals; and it is

                 3. Restructuring Transactions

                      FURTHER RESOLVED, that the Authorized Person is hereby authorized and
             empowered in the name of and on behalf of the Company, (i) to take actions and negotiate or cause
             to be prepared and negotiated and to execute, deliver, perform and cause the performance of any
             agreements, certificates, instruments, petitions, motions or other papers or documents in
             furtherance of any restructuring transactions to which the Company is or will be a party, including
             but not limited to, any asset or stock purchase agreement, chapter 11 plan, disclosure statement,
             and all exhibits and/or ancillary documents related thereto (collectively, the “Restructuring
             Documents” and “Restructuring Transactions” respectively), and (ii) may further approve,
             modify, or amend the Restructuring Documents in their reasonable judgment and in consultation
             with the Company’s professionals; and it is

                      FURTHER RESOLVED, that the Company, and the Authorized Person, shall be, and
             each of them hereby is, authorized to execute, deliver, and perform its obligations under one or
             more purchase agreements, license agreements, or other transactions agreements and all associated
             agreements, schedules, certificates, instruments, guaranties, notices, and other documents
             implementing a Restructuring Transaction, as may be deemed necessary or desirable by any
             Authorized Person; and it is
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                                              
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                     FURTHER RESOLVED, that the Company shall be, and hereby is, authorized to file or
             cause to be filed a motion seeking approval of a Restructuring Transaction, subject to such
             modifications thereto as such Authorized Person may deem necessary or advisable in order to give
             effect to and carry out the general purposes of such Restructuring Transaction, including (i)
             bidding procedures, a stalking horse purchaser and the payment of certain fees (including expense
             reimbursement and breakup fees) to the stalking horse purchaser; (ii) a plan of reorganization or
             liquidation, associated disclosure statement, to the extent applicable, and all other related
             documents, and consummate, and perform under, the transactions contemplated therein and/or (iii)
             to dismiss or close the Chapter 11 Cases and execute all related documents as may be reasonably
             necessary or desirable in the best interests of the Company and its stakeholders; and it is

                 4. General Authority

                     FURTHER RESOLVED, that, with respect to the Company, any Authorized Person, any
             one of whom may act without the joinder of any of the others, is hereby authorized, empowered
             and directed, with full power of delegation, in the name and on behalf of the Company, to take and
             perform any and all further acts or deeds, including, but not limited to (i) the engagement or
             retention of such further accountants, counsel, consultants, advisors or other professionals; (ii) the
             negotiation of such additional agreements, amendments, modifications, supplements, reports,
             documents, instruments, applications, notes or certificates not now known but which may be
             required; (iii) the execution, delivery and filing (if applicable) of any of the foregoing; and (iv) the
             payment of all fees, consent payments, taxes and other expenses; all of the foregoing, as any such
             Authorized Person, in his or her sole discretion, may approve or deem necessary, appropriate or
             desirable in order to carry out the intent and accomplish the purposes of the foregoing resolutions
             and the transactions contemplated thereby, with all of such actions, executions, deliveries, filings
             and payments to be conclusive evidence of such approval or that such Authorized Person deemed
             the same to meet such standard; and it is

                    FURTHER RESOLVED, that any and all past actions heretofore taken by any Authorized
             Person or any director of the Company in the name and on behalf of the Company in furtherance
             of any or all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and
             approved in all respects.
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                                              
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                      IN WITNESS WHEREOF, the undersigned have executed this consent on the dates set forth
             below.



             _____________________________
             Rice Powell
             Date: 



             ______________________________
             Douglas Blankenship
             Date:
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      Fill in this information to identify the case:

                   1XYR*URXS86$,QF
      Debtor name __________________________________________________________________
                                              District
      United States Bankruptcy Court for the: ______________________             Delaware
                                                                     District of _________

      Case number (If known):         _________________________
                                                                                        (State)
                                                                                                                                                 Check if this is an
                                                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code          email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                   professional          unliquidated, total claim amount and deduction for value of
                                                                                   services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if   Deduction for      Unsecured
                                                                                                                         partially         value of           claim
                                                                                                                         secured           collateral or
                                                                                                                                           setoff
     White & Case LLP                            Daniel Nussen                         Legal
1    1221 Avenue of the Americas                 1221 Avenue of the Americas
     New York, NY 10020-1095                     New York, NY 10020-1095                                                                                       
                                                 (212) 819-8200
                                                 daniel.nussen@whitecase.com

     Greenberg Traurig                           Nicole Rosenberg                      IPO                                                                    1,958,884.00
2    132 Menachem Begin One                      +972 (0) 3.636.6032
     Azrieli Center Round Tower, 30th Floor      TLVBilling@gtlaw.com
     Tel Aviv, Israel 6701101



3    Herzog Fox & Neeman                         Michal Herzfeld                       Legal                                                                  819,000.00
     Herzog Tower                                +972 3 696 6464
     6 Yitzhak Sadeh St.                         herzfeldm@herzoglaw.co.il
     Tel Aviv, Israel 6777506

4    Meitar Likwernick Geva Leshem               Anna Kemel, Yoav Sade                 IPO                                                                    730,491.00
     Abba Hillel Silver Rd                       03-610-3100
     16 Ramat Gen                                akemel@meitar.com;
     Israel                                      yoavs@meitar.com

5    First Insurance Funding Inc.                www.firstinsurancefunding.com         Insurance                                                              684,987.00
     450 Skokie Blvd, Ste 1000                   (800) 837-3707
     Northbrook, IL 60062-7917


     PwC Israel (Kesselman & Kesselman)          Maya Peri
6    146 Derech Menachem Begin Street,
                                                                                       Accounting                                                             471,902.00
                                                 +972 3 7954555
     Tel Aviv, Israel 6492103
                                                 +972 54 6660079
     P.O. Box 7187                               maya.peri@pwc.com
     Tel Aviv, Israel 6107120

                                                 Jacques Blinbaum
7    Blinbaum Ventures LLC                       David Blinbaum
                                                                                       Lender                                                                 442,833.00
     51 Jones Road                               (212) 490-4090
     East Quogue, NY 11942                       (212) 917-596-1648
                                                 jblinbaum@gmail.com;
                                                 dblinbaum@gmail.com


8    Deborah Henretta                            Deborah Henretta                      Advisors                                                               135,000.00
     3601 Casey Key Road Nokomis,                debhenretta@yahoo.com
     Florida 34275




    Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
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    Debtor                       1XYR*URXS86$,QF
                                _______________________________________________________                     Case number (if known)_____________________________________
                                Name




     Name of creditor and complete                      Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code                email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                                        contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                                      professional           unliquidated, total claim amount and deduction for value of
                                                                                      services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                                      government
                                                                                      contracts)
                                                                                                                             Total claim, if   Deduction for      Unsecured
                                                                                                                             partially         value of           claim
                                                                                                                             secured           collateral or
                                                                                                                                               setoff

9    I.B.I. Capital Trust Ltd                          Keren Talmor                     Vendors
     9 Ehad Ha'am St, Shalom Tower                     +972 3 5199960                                                                                             119,782.00
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                                      Jacques Blinbaum
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                                      (917) 596-1648
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14   Shoval Investments & Management Ltd.              Linoy Hamami                     Rent &                                                                    47,514.00
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16 TLV Payroll                                                                          Employee                                                                 71,600.00




17 TechPack Lab                                        Liat Meron                       Subcontractors                                                           71,542.00
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    Official Form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
